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 1   CLYDE M. BLACKMON (SBN 36280)
     Rothschild Wishek & Sands LLP
 2   901 F Street, Suite 200
     Sacramento, CA 95814
 3   Telephone: (916) 444-9845
 4   Attorneys for Defendant
     LAILA BHAMANI
 5
 6                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7                       EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                    Case No. 2:10-CR-00327 MCE
10                Plaintiff,
                                                  DEFENDANT LAILA BHAMANI’S
11        vs.                                     WAIVER OF PERSONAL APPEARANCE
12   AKBAR BHAMANI,
13   ZAIN BHAMANI,
14   KEN SARNA,
15   ALY BHAMANI,
16   FEROZA BHAMANI,
17   LAILA BHAMANI,
18   JOHN PIERRE QUINTANA,
19     aka J.P. Quintana, and
20   SHAUN BHAMANI,
21                Defendants.
22
23        Defendant Laila Bhamani hereby waives the right to be
24   present in person in open court upon the hearing of any motion
25   or other proceeding in this case, including when the case is set
26   for trial, when a continuance is ordered, when time is excluded
27   under the Speedy Trial Act, when a detention hearing is held,
28


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                                WAIVER OF PERSONAL APPEARANCE
                           Case 2:10-cr-00327-TLN Document 120 Filed 05/30/12 Page 2 of 2


 1   and when any other action is taken by the Court before or after
 2   trial, except upon arraignment, plea, empanelment of jury and
 3   imposition of sentence.                            Defendant hereby requests the Court to
 4   proceed during every absence of his which the Court may permit
 5   pursuant to this waiver; agrees that his interests will be
 6   deemed represented at all time by the presence of his attorney,
 7   the same as if defendant were personally present; and further
 8   agrees to be present in person in court ready for trial on any
 9   day which the Court may fix in his absence.
10
     DATED:                           May 25, 2012            //s//_Laila Bhamani
11                                                            LAILA BHAMANI
12
     APPROVED:
13
14
15   //s//Clyde M. Blackmon____
     CLYDE M. BLACKMON
16   Attorney for Defendant
     LAILA BHAMANI
17
18
                                    IT IS SO ORDERED.
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20
     Dated:                           May 30, 2012
21
                                                           __________________________________
22                                                         MORRISON C. ENGLAND, JR
23                                                         UNITED STATES DISTRICT JUDGE

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                                                     WAIVER OF PERSONAL APPEARANCE
